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 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                              FOR THE SOUTHERN DISTRICT OF TEXAS
 9
                                          HOUSTON DVISION
10
11
12    Triumphant Gold Limited,                         CASE NO.: 4:18-cv-4770

13                          Plaintiff,
                                                       CERTIFICATE OF SERVICE
14            v.

15    Darren Matloff,
16                          Defendant.

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     Case 4:18-cv-04770 Document 8 Filed on 02/21/19 in TXSD Page 2 of 2



1
                                           PROOF OF SERVICE
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3            I, LISA L. RANSDALL, am over the age of 18 and not a party to this action. My place
     of business is One Embarcadero Center, Suite 400, San Francisco, CA 94111. On February 21,
4    2019, I served the following document/s:

5               1. ENTRY OF DEFAULT AS TO DEFENDANT DARREN MATLOFF

6    on the person(s) listed below in the following manner/s:
7

8                  BY PERSONAL SERVICE. I caused the documents to be personally
               delivered to the person(s) at the address(es) listed below.
9
                ELECTRONICALLY: I caused a true and correct copy thereof to be
10              electronically filed using the Court’s Electronic Court Filing (“ECF”) System
               and service was completed by electronic means by transmittal of a Notice of
11              Electronic Filing on the registered participants of the ECF System.
12              BY UNITED STATES MAIL. I enclosed the documents in a sealed
                envelope or package addressed to the persons at the addresses below and
13              placed the envelope for collection and mailing following our ordinary
                business practices. I am readily familiar with this business' practice for
14            X collecting and processing documents for mailing. On the same day that
                correspondence is placed for collection and mailing, it is deposited in the
15              ordinary course of business with the United States Postal Service in a
                sealed envelope with postage fully prepaid.
16

17
     The following parties were served the above-referenced document/s:
18

19   Darren Matloff, Defendant
     75 Vine Street, Unit 805
20   Seattle, WA 98121
21

22          I declare under penalty of perjury under the laws of the United States and the State of
23   California that the foregoing is true and correct.
24   DATED: February 21, 2019
25

26                                                        ____/s/ Lisa L. Ransdall______________
                                                          Lisa L. Ransdall
27

28

                                                          1.
                                            CERTIFICATE OF SERVICE
